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 7                             UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
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                                           AT TACOMA
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     AMANDA UHLARIK,                                 Case No. CV18-5788BHS
11
                                                     ORDER CONTINUING TRIAL
12                                 Plaintiff,
13                            v.
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   NATIONAL RAILROAD PASSENGER
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   CORPORATION doing business as
16 AMTRAK,
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                                   Defendant.
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             Based on General Orders No. 1-20, 02-20, 7-20, 08-20, 11-20, 13-20, 15-20 and 18-
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     20, issued in response to the continuing outbreak of Coronavirus Disease 2019 (COVID-19),
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     the Court determines that trial in this case cannot proceed on the currently scheduled date of
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     March 23, 2021. General Order No. 18-20 provides that all civil and criminal hearings and
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     trial dates in the Seattle and Tacoma Courthouses scheduled to occur before March 31, 2021
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     are continued pending further order of the Court. The need to protect the public health and
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     safety of all those involved in Courthouse operations and proceedings as detailed in General
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     Orders No. 02-20, 8-20 and 18-20 constitutes good cause to modify the scheduling order
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      Order Continuing Trial – 1
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 1 pursuant to Federal Rule of Civil Procedure 16(b)(4).
 2          IT IS THEREFORE ORDERED that the trial date and other dates shall be continued.
 3          The trial date of March 23, 2021, and all other upcoming dates in this case, are hereby
 4 VACATED.
 5          The parties shall consult with each other regarding possible trial dates and shall file a
 6 Joint Status Report on or before February 9, 2021, with an agreed proposed trial date. If the
 7 parties do not agree on a proposed date, each side shall set forth, in a single report, separate
 8 proposals for the trial date. Once a trial date is identified, the Court will set the pretrial
 9 deadlines in accordance with its standard procedures.
10          If the parties believe that the pretrial conference or other anticipated hearings may be
11 effectively conducted by video/teleconference, they may identify those hearings in the Joint
12 Status report.
13          IT IS SO ORDERED.
14          Dated this 2nd day of February, 2021.
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                                                ABENJAMIN H. SETTLE
                                                 United States District Judge
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     Order Continuing Trial – 2
